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                               REPORT FOLLOWING
                    VOLUNTARY FACILITATIVE MEDIATION SESSION

      Case Number                             Case Caption                   Date of Session
  1:23-cv-00647                Andrew Ballenger v. Calvin University, et.    05/21/2024
                                                 al.

PARTIES                                       Attendees
                         Name                                     On Behalf Of
  Andrew Ballenger                                 Plaintiff
  Constance Ballenger                              Plaintiff
  Kevin Van Duyn                                   Defendant
  Brian Rosenow                                    Defendant
  Andy George                                      Defendant




 COUNSEL
                         Name                                     On Behalf Of
  Nicholas Roumel                                  Plaintiff
   Joseph Starr                                    Defendant




 Result:           V Case settled in full - Final paperwork will be filed: within 30 days
                        Mediation continuing - Date of Next Session
                        Not settled - Mediation Completed


Dated: May 28, 2024                                  By: /s/ Lee T. Silver
                                                          Lee T. Silver
                                                          Mediator




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